                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NEW YORK
__________________________________________
                                                 :
WILLIAM HOWELL,                                  :
                                                     COMPLAINT
                                                 :
               Plaintiff,                        :
                                                 :
                                                     Civil Action No.
       v.                                        :
                                                 :
MONROE COUNTY, PATRICK O’FLYNN,                  :
RON HARLING, CORRECTIONAL MEDICAL :
CARE, INC., EMRE UMAR, MARIA CARPIO              :
                                                     JURY TRIAL DEMANDED
CHRISTINE ROSS, ANSELMO DEASIS, M.D., :
SHAHID ALI, N.P., BETSY TELLER, P.A.,            :
JOHN/JANE DOES 1-3, Employees of                 :
Correctional Medical Care, Inc.,                 :
whose identities cannot presently be determined, :
                                                 :
               Defendants.                       :
__________________________________________

        Plaintiff William Howell, by and through his attorneys, the Law Offices of Elmer Robert

Keach, III, PC, complaining of Defendants, alleges as follows:



                                           JURISDICTION

        1.      This Court has jurisdiction over this action under the provisions of 28 U.S.C. §§

1331, 1341, & 1343 because it is filed to obtain compensatory and punitive damages for the

deprivation, under the color of state law, of the rights of citizens of the United States secured by

the Constitution and federal law pursuant to 42 U.S.C. § 1983.

        2.      Venue is proper under 28 U.S.C. § 1391 (e)(2) because the events giving rise to

the Plaintiff’s claims occurred in this judicial district.

        3.      This Court also has supplemental jurisdiction over claims asserted in this action

under New York State Law pursuant to 28 U.S.C. § 1367. Plaintiff files with this Complaint a



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Certificate of Merit pursuant to the provisions of the New York Rules of Civil Procedure § 3012-

a. See Exhibit D.



                                           PARTIES

       4.     Plaintiff William Howell is a citizen of the United States and currently resides in

Rochester, New York. William Howell is not currently incarcerated.

       5.     Defendant Monroe County is a municipal entity duly incorporated under the laws

of the State of New York, with its principal place of business being 101 County Office Building,

39 W. Main Street, Rochester, New York.

       6.     Defendant Patrick O’Flynn was and remains employed as the duly appointed

Sheriff of Monroe County, with his principal place of business being 130 S. Plymouth Avenue,

Rochester, New York.

       7.     Defendant Ron Harling was and remains employed as the Administrator of the

Monroe County Jail, with his principal place of business being 130 S. Plymouth Avenue,

Rochester, New York.

       8.     Defendant Correctional Medical Care, Inc. is a corporation duly licensed to

conduct business in the State of New York, with its principal place of business being 920

Harvest Drive, Suite 120, Blue Bell, Pennsylvania.

       9.     Defendant Emre Umar was and remains employed as the duly appointed President

of Correctional Medical Care, Inc., with his principal place of business being 920 Harvest Drive,

Suite 120, Blue Bell, Pennsylvania.




                                               2
        10.   Defendant Maria Carpio was and remains employed as the duly appointed Chief

Executive Officer of Correctional Medical Care, Inc., with her principal place of business being

920 Harvest Drive, Suite 120, Blue Bell, Pennsylvania.

        11.   At all times relevant herein, and upon information and belief, Defendant Christine

Ross was employed as the head of nursing at the Monroe County Jail by Correctional Medical

Care, Inc., with her principal place of business being 130 S. Plymouth Avenue, Rochester, New

York.

        12.   At all times relevant herein, and upon information and belief, Defendant Anselmo

Deasis was employed as the Medical Director at the Monroe County Jail by Correctional

Medical Care, Inc., with his principal place of business being 130 S. Plymouth Avenue,

Rochester, New York.

        13.   At all times relevant herein, and upon information and belief, Defendant Shahid

Ali was employed as a nurse practitioner at the Monroe County Jail, with his principal place of

business being 130 S. Plymouth Avenue, Rochester, New York.

        14.   At all times relevant herein, and upon information and belief, Defendant Betsy

Teller was employed as a physician’s assistant at the Monroe County Jail, with her principal

place of business being 130 S. Plymouth Avenue, Rochester, New York.

        15.   At all times relevant herein, and upon information and belief, Defendants

John/Jane Does 1-3 were employed by Correctional Medical Care, Inc., with their principal place

of business being 130 S. Plymouth Avenue, Rochester, New York. Plaintiff cannot presently

determine the identities of these individuals, except to say that they were employed as nurses or

other medical providers at the Monroe County Jail and were responsible to provide medical care

to William Howell.



                                               3
                                            FACTS

       16.    On or about December 10, 2013, Plaintiff William Howell was admitted to the

Monroe County Jail. Approximately two weeks after his admission, Mr. Howell began suffering

from severe diarrhea, fatigue and weakness. Mr. Howell was evaluated by medical staff, and was

provided large doses of what was described as “diarrhea medication”. Mr. Howell later learned

that he was actually receiving massive and toxic doses of the wrong medication, including an

anti-psychotic medication, which caused catastrophic damage to his brain and liver.

       17.    As expected, the purported “diarrhea medication” did not alleviate Mr. Howell’s

symptoms. In fact, his symptoms continued to worsen. Over the next five weeks, Mr. Howell’s

diarrhea got worse and he suffered from the additional symptoms of nausea, shaking, headaches,

extreme fatigue, and weight loss. Mr. Howell repeatedly complained to medical staff about his

escalating symptoms. In response, Mr. Howell was evaluated several times by the facility doctor

and other medical staff including, upon information and belief, Defendants Anselmo Deasis,

M.D., Shahid Ali, N.P., Betsy Teller, P.A., and Jane/John Does 1-3 (hereinafter the “Medical

Defendants”). On each occasion, Mr. Howell was told that there was nothing else that the facility

could do for him other than provide him with the same medication.

       18.    Mr. Howell’s deteriorating medical condition was obvious and known throughout

the facility. In fact, numerous corrections officers attempted to relieve some of Mr. Howell’s

discomfort by contacting medical staff, bringing him extra toilet paper and bringing his food to

his cell because Mr. Howell could not get out of bed.

       19.    On or about January 16, 2014, the medical defendants abruptly discontinued

almost all of Mr. Howell’s medications. Upon information and belief, the Defendants

discontinued Mr. Howell’s medications because they finally realized they had been giving Mr.



                                                4
Howell massive doses of the wrong medication. Despite this determination, Mr. Howell was not

immediately sent to the hospital or provided any medical treatment or supervision. Upon

information and belief, it is not only dangerous to abruptly stop a patient’s medication without

appropriate medical supervision, it is medically reckless and indifferent, especially if the patient

is taking strong psychotropic medication.

       20.     Mr. Howell experienced his last conscious day before he was hospitalized on or

about January 19, 2014. Throughout the day, Mr. Howell felt so weak he could not get out of

bed, eat, and move his limbs. Mr. Howell also suffered from uncontrollable shaking, nausea and

extreme sweats throughout the day. Mr. Howell thought he was going to die.

       21.     On or about January 20, 2014, Mr. Howell was observed in a state of delirium.

Corrections Officers observed Mr. Howell acting in an absurd manner for several hours,

including chasing things in his cell that was not there. Mr. Howell was eventually transported to

Strong Memorial Hospital, where it was determined that he was in critical condition.

       22.     Mr. Howell has no memory of the events that occurred from January 20, 2014

until January 25, 2014. During those days, numerous tests, including blood panels, were

performed, in an effort to determine what was wrong with Mr. Howell. From the day of his

admission, the doctors immediately suspected that Mr. Howell was suffering from ingestion of a

toxic substance. Upon information and belief, the doctors quickly ruled out illegal substances as

the cause and determined that Mr. Howell likely ingested a toxic amount of prescription

medication.

       23.     In order to confirm their suspicion, the medical staff at Strong Memorial Hospital

contacted the Monroe County Jail to determine whether Mr. Howell had been provided any

medications that would cause his symptoms. Rather than admit that they had provided Mr.



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Howell the wrong medications, the medical defendants, who upon information and belief,

discontinued Mr. Howell’s medication after discovering their error, merely provided the Hospital

with a list of the medications Mr. Howell was “supposed” to be taking. As a result, the medical

staff at Strong Memorial Hospital continued to struggle with diagnosing and treating Mr. Howell

because they could not immediately and conclusively determined that Mr. Howell was suffering

from toxic ingestion. Upon information and belief, the Defendants failure to immediately inform

the hospital staff of their error prevented Mr. Howell from making a full or more substantial

recovery.

       24.     There is no question that the Medical Defendants knew that Mr. Howell had been

prescribed the wrong medication. In fact, on or about January 25, 2014, Defendant Christine

Ross, the head of nursing at the Monroe County Jail, personally visited Mr. Howell in his

hospital room to apologize for their mistake. Again, despite being feet away from the hospital’s

medical staff, Defendant Ross also failed to inform them about the cause of Mr. Howell’s

symptoms, thereby directly preventing Mr. Howell from receiving immediate and appropriate

medical treatment for toxic ingestion.

       25.     Mr. Howell was eventually discharged from Strong Memorial Hospital on or

about January 31, 2014. Upon information and belief, Mr. Howell was informed that his blood

contained toxic amounts of anti-psychotic medication and breathing medication for

approximately 30 days. Mr. Howell was informed that the combination of receiving the wrong

medication and suffering from prolonged, untreated and severe diarrhea caused the ammonia

levels in Mr. Howell’s blood to spike to near fatal levels, causing irreversible damage to his brain

and liver.




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       26.      Mr. Howell now suffers from permanent memory loss and confusion. Mr. Howell

was also told that he will likely suffer from recurring episodes of ammonia spikes which may

result in fatal consequences. Mr. Howell now lives in fear that he will soon die from this

condition. This fear is well-founded given that he was subsequently hospitalized on

approximately seven occasions when he experienced critical spikes in his ammonia levels. In

addition to suffering permanent brain damage, Mr. Howell is also suffering from stage four liver

failure, chronic pancreatitis, and may need a liver transplant in the future. Mr. Howell is also

scheduled to have his gallbladder surgically removed, upon information and belief, as a result of

the complications caused by the Defendants’ conduct.

       27.      Upon information and belief, Correctional Medical Care, Inc., through express

policy, practices and/or the inactions of its policy makers, had a policy and/or practice of not

providing appropriate medical care to detainees at the Monroe County Jail and many other local

jails across the State of New York and the Commonwealth of Pennsylvania. This is evident given

the numerous successful lawsuits and settlements that have been brought against CMC and the

trail of deaths that follow whenever CMC is contracted to provide medical care for jail detainees.

In fact, the Commission of Corrections has issued numerous scathing reports exposing CMC for

their repeated failure to provide appropriate care to inmates including:

            Joaquin Rodriguez, Monroe County Jail – spent last five days “seriously ill …
             without medical care,” medical care represented “gross negligence and gross
             incompetence.”

            Kevin Schmitt, Ulster County Jail – death by suicide. The Commission required the
             Ulster County sheriff to conduct an immediate review of the care provided by CMC,
             and recommended that they terminate their contract with CMC if they delayed
             making and/or refused to make any of the recommendations made by the
             Commission. The Commission also requested that the Office of Professions inquire
             into whether CMC, a corporation, was lawfully practicing medicine in New York.




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            John Wright, Onondaga County Justice Center – death by morphine overdose. The
             Commission required CMC to “conduct a comprehensive inquiry into the grossly
             incompetent and inadequate care rendered to John Wright.”

            Maria Viera, Monroe County Jail – “inappropriate and inadequate credentialing.” Use
             of improperly trained and inexperienced nurse to perform initial assessment of
             detainee, detainee later dies of drug withdrawal.

            Richard Vandermark, Ulster County Jail – “failure to provide a timely mental health
             assessment.”

            Alvin Rios, Broome County Jail – Required Broome County Executive to “conduct
             an inquiry into the fitness of Correctional Medical Care, Inc. as a correctional medical
             care provider, specifically for its failure to implement ... policy and procedure...”.

            Justin McCue, Dutchess County Jail – inmate committed suicide by hanging as a
             result of inadequate policies and procedures.

            Robert Barksdale, Monroe County Jail – inmate committed suicide by hanging. The
             Commission required CMC to ensure that their staff are properly trained and follow
             their own policies and procedures.

            Dylan Burke, Oneida County Jail – death caused by inadequate detoxification
             treatment. The Commission instructed CMC to “cease treating opiate/narcotic
             withdrawal symptomatically with palliative medications which do not provide
             effective detoxification.”

            Thomas Siewert, Dutchess County Jail – inmate committed suicide by hanging. The
             Commission recommended “In light of the fundamental and egregious lapse of care
             in this case, the Sheriff, in conjunction with the Executive, shall review the status of
             CMC, Inc. with respect to its capabilities as a medical, and in particular, a mental
             health service provider.”


       28.      This is but a sampling of the parade of horribles wrought on helpless detainees by

Correctional Medical Care, as summarized in a recent article in the Albany Times Union. See

Alysia Santo, Inmates Die in Cost Cut: State Investigators Cite a Pattern of Inadequate Health

Care Provided by For-Profit Companies at Jails, Albany Times Union, Monday, April 1, 2013.

See Exhibit A. Correctional medical Care has been sued successfully on countless occasions,

both in New York and Pennsylvania regarding the deaths and serious injuries suffered by other


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detainees. The Commission of Correction was so concerned about the performance of CMC that

it recommended to several counties that they terminate their contract, and further requested that

the New York State Department of Education, Office of the Professions, take action against the

company.

       29.     This pattern was recently confirmed by the New York State Office of the

Attorney General, who investigated CMC and required the company to sign a consent decree that

made a number of damning admissions. A copy of the settlement agreement between CMC and

the Attorney General’s office is attached hereto as Exhibit B.

       30.     In his press release describing the settlement, Attorney General Schneiderman

detailed that CMC’s actions represented “substandard care and mismanagement,” and that CMC

was “shortchanging medical services” for detainees. See Exhibit C.

       31.     The settlement agreement further found that CMC employed “unlicensed and

inexperienced staff; inadequate staffing; lack of adequate medical oversight; and failure to

adhere to medical and administrative protocols and procedures” at CMC facilities. Settlement

Agreement, p. 5 ¶11.

       32.     The settlement agreement also addressed CMC’s failure to pay penalties imposed

against them regarding their failure to staff the Monroe County Jail with appropriately qualified

medical professionals. Settlement Agreement, p. 5 ¶21-28. The settlement agreement found that

when the penalties were paid, they were paid to the office of the Monroe County Sheriff instead

of the County Executive. Settlement Agreement, p. 5 ¶29. It goes without saying that receiving

campaign contributions from a private jail medical provider gives a clear financial incentive for

the County Defendants to look the other way while inmates die and suffer egregious injuries at

the Monroe County Jail.



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        33.     The Attorney General’s Office, after conducting a review of 20 medical records at

the Tioga County Jail, also found that CMC staff did not “make necessary referrals to a

psychiatrist or physician” and that “not one of the medical records showed evidence of a

physician ... oversight, and that staff dispensed medications in the absence of medical orders.”

Settlement Agreement, p. 5 ¶10. Plaintiff believes that this is exactly what happened in this case,

given the decedent was not provided any meaningful medical treatment, and was likely not sent

to the hospital until he was already critically ill.

        34.     The Plaintiff affirmatively alleges that Correctional Medical Care, because of the

financial incentives in its contracts, has a pattern and practice of failing to provide adequate

medical care to detainees, including providing adequate and appropriately trained medical staff.

CMC’s continuing problems as a medical provider are evidence of a company who is taking

taxpayers money to provide a service, and then defrauding taxpayers for the financial benefit of

Defendants Emre Umar and Maria Caprio, the owners of CMC, who clearly could care less

about the wellbeing of those for whom they paid to provide.

        35.     During all times mentioned in this Complaint, the Defendants were acting under

color of state law, that is, under color of the Constitution, statutes, laws, charter, ordinances,

rules, regulations, customs, and usages of the State of New York, Monroe County, and

Correctional Medical Care, Inc.

        36.     Correctional Medical Care, and their employees were also operating under color

of state law, in that these defendants are performing a function traditionally reserved for state

and/or municipal agencies, and as such are equally responsible for the violation of civil rights as

if they were state actors.




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          37.   The Defendants, at all times mentioned in the Complaint, either knew or should

have known that their actions violated clearly established law protecting the Constitutional and

statutory rights of the Plaintiff.

          38.   Defendants knew or should have known that their actions violated clearly

established law protecting the Constitutional and statutory rights of William Howell.



                                     CAUSES OF ACTION

     AS AND FOR A FIRST CAUSE OF ACTION AGAINST DEFENDANTS
 CORRECTIONAL MEDICAL CARE, INC., CHRISTINE ROSS, ANSELMO DEASIS,
         SHAHID ALI, BETSY TELLER, AND JOHN/JANE DOES 1-3

                  Violation of Constitutional Rights under Color of State Law
                     -- Deliberate Indifference to Serious Medical Needs --

          39.   Plaintiff incorporates by reference and realleges each and every allegation stated

herein.

          40.   Under the Eighth Amendment to the United States Constitution, detainees held by

government agencies have a right to be free from cruel and unusual punishment. Actions of

government officials or other state actors demonstrating deliberate indifference to the serious

medical needs of detainees represent cruel and unusual punishment.

          41.   Defendants’ actions, detailed above, violated William Howell’s rights under the

United States Constitution. Specifically, it was not objectively reasonable for the Defendants to

ignore William Howell’s serious medical problems, including prolonged and severe diarrhea, the

administration of toxic doses of the wrong medication, and the failure to provide appropriate

medical treatment once their negligence was discovered. In fact, the Defendants’ actions

demonstrate a deliberate indifference to Mr. Howell’s serious medical needs.




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          42.   All of the individual Defendants were acting in their capacity either as policy

makers and/or medical staff of the Monroe County Jail and therefore acted under color of state

law. Their actions and inactions also represent a violation of 42 U.S.C. § 1983.

          43.   Given that Correctional Medical Care, Inc. is fulfilling a traditional governmental

function, but is a private profit making company, it is not entitled to the protections afforded to

municipal defendants. Instead, it is vicariously liable for the deliberately indifferent actions and

inactions of its employees.

          44.   As a direct and proximate result of the unconstitutional acts described above,

William Howell has suffered irreparable and life-changing injuries.


   AS AND FOR A SECOND CAUSE OF ACTION AGAINST CORRECTIONAL
  MEDICAL CARE, INC., EMRE UMAR, MARIA CARPIO, ANSELMO DEASIS,
CHRISTINE ROSS, MONROE COUNTY, PATRICK O’FLYNN, AND RON HARLING

  Implementation of Municipal Policies and Practices that Directly Violate Constitutional
   Rights/ Failure to Implement Municipal Policies to Avoid Constitutional Deprivations
       and/or Failure to Train and Supervise Employees under Color of State Law


          45.   Plaintiff incorporates by reference and realleges each and every allegation stated

herein.

          46.   Upon information and belief, Defendants Monroe County, Correctional Medical

Care, Inc., Emre Umar, Maria Carpio, Christine Ross, and Anselmo Deasis, are responsible for

establishing policies and procedures to be utilized by CMC employees, and the employees of the

Monroe County Jail. Defendants Monroe County, Patrick O’Flynn, and Ron Harling are also

directly responsible for the policies of Correctional Medical Care, Inc., as the responsibility for

the healthcare of detainees cannot be delegated.




                                                12
        47.     Upon information and belief, these defendants knew or should have known that

detainees in the jail were not receiving appropriate medical treatment. This is evident given the

publicity surrounding deaths and injuries at Monroe County Jail and other CMC facilities. It is

well established that county jails must have appropriate policies in place to ensure that detainees

receive treatment for serious medical needs, and county governments will not be relieved of that

responsibility by hiring private medical contractors to fulfill those duties. It is also clear that

Monroe County and CMC did not have adequate policies and procedures in place given the

heartless manner in which William Howell was treated while at the Monroe County Jail.

        48.     These practices were particularly pronounced and known to the administrators of

Correctional Medical Care, including Emre Umar and Maria Carpio. CMC has a long pattern and

practice of failing to provide adequate medical care to detainees which has led to the deaths of

numerous inmates. This is also evident given CMC employees were given a direct financial

incentive to provide inadequate medical treatment to detainees through bonuses and by threat of

termination. The response from CMC is to do nothing, including failing to provide adequate

training and supervision to its subordinates to avoid the continuing and unnecessary injuries and

deaths of detainees.

        49.     Correctional Medical Care and its employees were also operating under color of

state law, in that Correctional Medical Care is performing a function traditionally reserved for

state and/or municipal agencies, and as such is equally responsible for the violation of civil rights

as if it were a state actor.

        50.     As such, the above-listed Defendants are directly responsible for this

constitutional violation.




                                                 13
          51.   In the alternative, Defendants have instituted appropriate polices, but then through

gross negligence and carelessness have demonstrated deliberate indifference to the constitutional

rights of citizens by failing or intentionally refusing to enforce them.

          52.   These policies, procedures, and practices of the above-named Defendants violated

the rights of Plaintiff William Howell.

          53.   As a direct and proximate result of the unconstitutional acts described above,

William Howell has suffered irreparable and life-changing injuries.



AS AND FOR A THIRD CAUSE OF ACTION AGAINST CORRECTIONAL MEDICAL
 CARE, INC., EMRE UMAR, MARIA CARPIO, CHRISTINE ROSS AND ANSELMO
                              DEASIS

                Violation of State Law – Negligent Supervision/Retention of Employee

          54.   Plaintiff incorporates by reference and realleges each and every allegation stated

herein.

          55.   The actions and inactions of the above named Defendants constitute the negligent

supervision and/or retention of employees under New York law. Specifically, the above named

defendants were responsible for supervising and/or disciplining their employees and/or agents,

and failed in that duty given the allegations made herein.

          56.   As a direct and proximate result of the unconstitutional acts described above,

William Howell has suffered irreparable and life-changing injuries.




                                                 14
     AS AND FOR A FOURTH CAUSE OF ACTION AGAINST CORRECTIONAL
    MEDICAL CARE, INC., EMRE UMAR, MARIA CARPIO, CHRISTINE ROSS,
   ANSELMO DEASIS, SHAHID ALI, BETSY TELLER, AND JOHN/JANE DOES 1-3

                   Violation of State Law –Negligence/Medical Indifference

          57.   Plaintiff incorporates by reference and realleges each and every allegation stated

herein.

          58.   The actions and inactions of the above named Defendants constitute negligence

under the laws of New York. Specifically, the above named defendants were responsible for but

failed to provide Plaintiff with adequate medical treatment. Specifically, it was not objectively

reasonable for the Defendants, who were repeatedly informed that Plaintiff was experiencing

serious medical symptoms, to ignore and/or refuse to provide Mr. Howell medical treatment.

          59.   At all relevant times, Defendants Correctional Medical Care, Emre Umar and

Maria Carpio employed the above-listed Defendants and as such, are vicariously liable for the

actions and inactions of their agents.

          60.   As a direct and proximate result of the acts described above, Plaintiff has been

irreparably injured.


AS AND FOR A FIFTH CAUSE OF ACTION AGAINST CORRECTIONAL MEDICAL
   CARE, INC., EMRE UMAR, MARIA CARPIO, CHRISTINE ROSS, ANSELMO
      DEASIS, SHAHID ALI, BETSY TELLER, AND JOHN/JANE DOES 1-3

                             Violation of State Law – Medical Malpractice

          61.   Plaintiff incorporates by reference and realleges each and every allegation stated

herein.

          62.   The actions and inactions of the above named Defendants constitute medical

malpractice under the laws of New York. Specifically, the above named defendants were

responsible for but failed to provide Plaintiff with adequate medical treatment. Specifically, it

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was not medically justifiable for the Defendants to provide Plaintiff with toxic doses of the

wrong medication and thereafter fail to inform Plaintiff’s subsequent medical providers of their

mistake.

          63.   At all relevant times, Defendants Correctional Medical Care, Emre Umar, Maria

Carpio employed the above-listed Defendants and as such, are vicariously liable for the actions

and inactions of their agents.

          64.   Plaintiff files with this Complaint a Certificate of Merit pursuant to the provisions

of the New York Rules of Civil Procedure § 3012-a. Exhibit D.

          65.   As a direct and proximate result of the acts described above, Plaintiff has been

irreparably injured.



AS AND FOR A SIXTH CAUSE OF ACTION AGAINST CORRECTIONAL MEDICAL
   CARE, INC., EMRE UMAR, MARIA CARPIO, CHRISTINE ROSS, ANSELMO
      DEASIS, SHAHID ALI, BETSY TELLER, AND JOHN/JANE DOES 1-3

                  Violation of State Law –Negligent Infliction of Emotional Distress

          66.   Plaintiff incorporates by reference and realleges each and every allegation stated

herein.

          67.   The actions and inactions of the above named Defendants constitutes negligent

infliction of emotional distress under New York law. Specifically, Defendants Christine Ross,

Anselmo Deasis, Shahid Ali, Betsy Teller and John/Jane Does 1-3, by providing Plaintiff with

toxic doses of the wrong medication and thereafter failing to inform Plaintiff’s subsequent

medical providers of their mistake, caused Plaintiff irreparable emotional injuries.




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          68.   At all relevant times, Defendants Correctional Medical Care, Emre Umar, Maria

Carpio employed the above-listed Defendants and as such, are vicariously liable for the actions

and inactions of their agents.

          69.   As a direct and proximate result of the acts described above, the Plaintiff has been

irreparably injured.


    AS AND FOR A SEVENTH CAUSE OF ACTION AGAINST CORRECTIONAL
    MEDICAL CARE, INC., EMRE UMAR, MARIA CARPIO, CHRISTINE ROSS,
   ANSELMO DEASIS, SHAHID ALI, BETSY TELLER, AND JOHN/JANE DOES 1-3

                                 Violation of State Law – Res Ipsa Loquitur

          70.   Plaintiff incorporates by reference and realleges each and every allegation stated

herein.

          71.   The actions and inactions of the above named Defendants constitute Res Ipsa

Loquitur under New York law. Specifically, Defendants Christine Ross, Anselmo Deasis, Shahid

Ali, Betsy Teller and John/Jane Does 1-3, by providing Plaintiff with toxic doses of the wrong

medication Res Ipsa Loquitur caused the Plaintiff’s injuries.

          72.   At all relevant times, Defendants Correctional Medical Care, Emre Umar, and

Maria Carpio employed the above-listed Defendants and as such, are vicariously liable for the

actions and inactions of their agents.

          73.   As a direct and proximate result of the acts described above, the Plaintiff has been

irreparably injured.




                                                 17
                          DEMAND FOR PUNITIVE DAMAGES

       74.    The actions of the Defendants Correctional Medical Care, Inc., Emre Umar,

Maria Carpio, Christine Ross, Anselmo Deasis, Shahid Ali, Betsy Teller, and John/Jane Does 1-

3, described above were extreme and outrageous, and shock the conscience of a reasonable

person. Therefore, an award of punitive damages is appropriate to punish the Defendants for

their cruel and uncivilized conduct. The Plaintiff does not seek punitive damages against Monroe

County, Sheriff O’Flynn or Jail Administrator Harling.



                             DEMAND FOR TRIAL BY JURY

       75.    The Plaintiff hereby respectfully requests a trial by jury.




                                                18
                                      PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff William Howell requests that this Honorable Court grant

him the following relief:

       A.        A judgment in favor of Plaintiff against all Defendants for compensatory damages

in an amount to be determined by a properly charged jury;

       B.        A judgment in favor of Plaintiff against all defendants, with the exception of

Monroe County, Patrick O’Flynn, and Ron Harling, for punitive damages in an amount to be

determined by a properly charged jury;

       C.        A monetary award for attorneys’ fees and the costs of this action, pursuant to 42

U.S.C. § 1988;

       D.        Any other relief that this Court finds to be just, proper and equitable.

                                                Respectfully Submitted By:

                                                /s Elmer Robert Keach, III

Dated: February 26, 2016                        _____________________________
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                                                WILLIAM HOWELL




                                                   19
EXHIBIT A
9J2/13                  Case 9:13-cv-01321-FJS-TWD    Document
                                                 Inmates die in cost cut-1Times
                                                                             Filed
                                                                                Union10/23/13 Page 27 of 30



     Inmates die in cost cut
     state IIMietlgaton c:lte a pattern of Inadequate health c::are provided byfor"ll!'oftt c::ompanlee at jails
     By Alysia Santo
     L.pdated 7:21 am Monday, Aprl1, 2013




     For more information about the cases, see: http:I fblog.timesunion.comlcrimeldocuments-inmate-death-reportsll3437I




     Three months in the Monroe County Jail turned into a death sentence for Joaquin Rodriguez, a diabetic.

     He spent his final five days "seriously ill ... without medical care," despite the presence of Correctional Medical Care Inc., a for-profit
     company hired to provide health services to inmates at the Rochester jail.

     The company has lucrative contracts at the county jails in Albany, Schenectady and Rensselaer counties and other facilities across
     New York.

     CMC's care was "characterized by gross negligence and gross incompetence," wrote state investigators.

     What happened to Rodriguez is part of a pattern. A Times Union review of reports from the medical review board of New York's
     Commission of Correction, which investigates inmate deaths, revealed repeated instances of inadequate care from CMC and other private
     prison health care businesses that currently operate in the state, or once did

     The commission has been sounding alarms about such companies - since at least 2001 - via its inmate death reports.

     The corporate practice of medicine is illegal in New York. Medical companies must be owned and controlled by doctors, a regulation meant
     to keep business considerations from influencing medical decisions.

     Yet for-profit medical companies have managed to not only exist in jail infirmaries, but thrive, by setting up "professional corporations,"
     business entities run by medical professionals and positioned legally between the company andjails they serve.

     This set up is a "front operation" and is "really just an arm of the business" said Assemblyman Richard Gottfried, chair of the Assembly
     Health Committee since 1987.

     ''The arrangement here seems to be a shell game that the law should not tolerate," Gottfried said

     It's an issue the state's corrections oversight commission raised in 2004, along with the state Education Department, when both agencies
     urged then-Attorney General Eliot Spitzer to stop a different company, Prison Health Services, from operating in New York, but his office
     declined to take any action.

     Now the commission is raising the same concerns about CMC, and it's not just corporate legal procedure that's of concern.

     In deaths across the state, investigators have discovered the same problems with corporate-run jail health care: Underqualified staff, ignored
     policies, unread patient records, and a lack of discipline for employee misconduct.

     The dangers of for-profit health care "are especially serious behind bars" said Gottfried, since "there is little or no oversight" and "inmates are
     hardly a population that has a real voice."

     As mistakes and misconduct repeat, inmates have continued to die unnecessarily.

     The commission uncovered flawed care in the cases of every one of the 26 inmates whose death or suicide occurred under a private
     company's watch and spurred an investigation over the last five years of reports.

     The medical review board does not do an in-depth investigation into every inmate death, but it does look at all suicides as well as deaths that
     happen subsequent to use of force, where there is evidence of neglect or medical mistakes, accidents, and whenever else there is doubt over
     cause or circumstance.

     Nine of the reviewed deaths occurred among seven different jails with CMC contracts between 2009 and 2011.

     At the conclusion of three death reports involving CMC, the commission recommended the state Education Department's Office of
     Professions, which oversees individual and business licenses, "inquire into whether CMC, Inc., a general business corporation, may lawfully
     hold itself out as a medical provider."

     It's the same concern the commission warned the state Education Department about regarding PHS over a decade earlier.


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     At that time, the state Education Department requested the attorney general begin a criminal action against PHS, but the licensing agency's
     stance has since changed. Spokesperson Tom Dunn wrote in an email that PHS is now operating legally hecause "PHS no longer directly
     provides medical services to jails" but rather uses a professional medical corporation for health services, and "only contracts with Prison
     Health Services for non-medical services, such as management and billing."

     Education Commissioner John King declined an interview request.

     Dunn would not answer any questions ahout CMC's license "hecause professional discipline investigations are confidential." He said "the
     state Education Department Office of Professions continues to work closely with the attorney general and when final agency actions have
     been taken they will be reported publicly."

     Tbe Commission of Correction alao declined an interview request, but noted that their "concerns ahout whether contracted medical
     providers can legally operate in New York state have been well documented in the [death] reports," which, spokesperson J anine Kava wrote
     in an email, "speak for themselves."

     CMC President Emre Umar wrote in an email that the company "offers its clients the highest level of professionaliam, dedication and
     integrity" and "works diligently to implement all suggestions" made by the commission's medical review board. He noted that all CMC
     facilities "that have sought accreditation either from the National Commission on Correctional Health Care or the New York State Sheriff's
     Association, have achieved and maintained that accreditation."

     Despite the disturbing history, services offered by these companies are an attractive sell for local governments looking to relieve themselves
     of the costly and chaotic responsibility of teoding to medical and mental health needs of inmates.

     Companies pitch themselves as experienced outfits that can recruit medical staff, maintain standards, and combat lawsuits, all for a
     set price.

     They also donate money toward sheriff's elections.

     CMC has contributed a total of $21,000 to the campaigns of sheriffs in seven New York counties, and was a top contributor in the elections
     of both Albany County Sheriff Craig Apple, giving $4,100, and Rensselaer County Sheriff Jack Mahar, giving $3,000. Both sheriffs said
     vendora often donate and this had nothing to do with their decision to hire the company.

     CMC's business is flourishing in New York, where it operates exclusively, although its headquarters are in Pennsylvanis.

     For the many jails that have come to rely on these companies, the revolving corporate door keeps turning.

     CMC has accumulated many of its contracts with jails that had previously hired other companies. There are 16 county jails in New York
     that use contracted providers for medical or mental health services, leaving out New York City, and 13 of those are with CMC.

     Tbe most recent CMC client is the Rensselaer County Jail, which hired the firm for the jail's first privatization of health services this March
     for a little under $2 million per year for three years.

     Albany and Schenectady county jails both have multimillion-dollar contracts with CMC. Previously, Albany did business with similsrly
     named Correctional Medical Services, and before that, both Schenectady and Albany were with PHS, as were other county jails.

     Rensselaer County Sheriff Mahar said he asked other sheriffs about the company and "did not get one negative comment." He said he'd
     never heard about the commission's concerns about CMC. 'Would it have changed our minds? I don't know."

     That's hecause providing this service through the county was becoming exceedingly difficult, and local leaders saw privatization as a possible
     solution, Mahar said.

     Schenectady County Attorney Chris Gardoer deseribed CMC as "the best company we've ever worked with."

     Albany County Sheriff Craig Apple said he's "very comfortable" with CMC, and said they recently honored the company at a reception after
     they helped save two people's lives at the jail last year. "That's the kind of stuff you don't hear about," Apple said

     Caring for inmates is tough; they are sicker and more dePendent on drugs and alcohol than the general population, said Gloria Cooper, the
     health services administrator for CMC at the Albany County jail. Sbe has worked in the facility since 2000, both under PHS and CMS.

     When asked ahout the reports on flawed medical care at other jails, she said, "I think in a lot of places, it dePends on who's working."

     At the Broome County Jail, one former social worker, Kim McAndrew, says she spoke out aOOut the company's treatment of inmates and
     employees, and lost her job for it.

     Sbe's filed a notice of claim against the county which alleges she was "forced to see 19 to 25" inmates on a regular basis, even though she
     could only reasonably manage seven or eight; that she and other non-medical staff kept traek of inmates medications; and that CMC hired
     a mental health employee into the Broome County Jail that was unlicensed and had been terminated from Tioga County following an
     inmate suicide.
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     In an interview, McAndrew said she deeided to speak out because she felt she could no longer "stand by and watch."

     "I didn't feel good about myself anymore," said McAndrew.

     McAndrew is being represented by Binghamton attorney Ronald Benjamin, who is also in the middle of litigation for the family of Alvin
     Rios, a hushand and father of five who died in the Broome Coun1y Jail.

     "He was a beautiful man with a heart of gold," said his widow, Mildred Rios, choking hack tears. "He loved his kids."

     Commission investigators found that the jail knew Rios was addicted to heroin, yet CMC failed to comply with its own intoxication and
     withdrswal policy.

     A doctor later told investigators he "never touched the chart."

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     Read the fullotate reports on CMC and other companies in digital versions of this story.




     Dmths on Correctional Medical Care's wateh

     Richard Vandemark, 21, suicide, AprilS, 2009, Ulster County Jail, "failure to provide a timely mental health assessment"

     Kevin Schmitt, so, suicide, Sept. 4 2009, Ulster Coun1y Jail, "assesament ... grossly incompetent, flagrantly suhatandard"

     Joaquin Rodriguez, 6o, diabetic lretoacidosisfpueumonia, Oct. 18, 2009, Monroe Coun1y Jail, "seek to terminate ... contract with [CMC] for
     cause."

     Maria Viera, 53, myocarditis, Sept. 2, 2010, Monroe County Jail, "inadequate and inappropriate credentialing"

     Justin McCue, 26, suicide, Sept. 23, 2010, Dutchess County Jail, "improper and inadequate mental health care and treatment"

     Latisha Mason, 28, undetermined, Feb. 2, 2011, Schenectady Coun1y Jail, "failed to comport with their own policy"

     Thomas Siewert, 51, suicide, Feb. 11, 2011, Dutchess County Jail, "egregious lapses of care"

     Alvin Rios, 40, cardiac arrhythmia, July 20, 2011, Broome County Jail, "left ... in an emergent, life-threatening status without appropriate
     medical attention"

     Frederick Haag, 41, suicide, Oct. 24, 2011, Tioga County Jail, "grossly inadequate mental health care"

     Source: Commission of Correction




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     Records show the commission recommended the state Education Department investigate CMC three times between 2011 and 2012

     ''That the Office of Professions undertake an inquiry into the status of Correctional Medical Care, Inc., a Pennsylvania corporation, as a
     lawful medical prsctitioner in New York Stste" March 3, 2011 (from Kevin Schmitt report)

     "undertake an inquiry into the status of [CMC] ... as a lawful medical practitioner ... operating in accordance with Education Law" March
     18, 2011 (from Joaquin Rodriguez report)

     "inquire into whether CMC, Inc., a general business corporation, may lawfully hold itself out as a medical care provider" June 19, 2012
     (from Thomas Siewert report)

     Source: Commission of Correction




     For more information about the cases, see: http:/fblog.timesunion.com/crinle/documents-inmate-desth-reports/13437/

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EXHIBIT B
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A.G. Schneiderman Announces Settlement With Health Care Company ...   http://www.ag.ny.gov/press-release/ag-schneiderman-announces-settleme...




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EXHIBIT D
                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NEW YORK
__________________________________________
                                                 :
WILLIAM HOWELL,                                  :
                                                 :
               Plaintiff,                        :
                                                 :
       v.                                        :
                                                 :
MONROE COUNTY, PATRICK O’FLYNN,                  :
RON HARLING, CORRECTIONAL MEDICAL :
CARE, INC., EMRE UMAR, MARIA CARPIO              :
CHRISTINE ROSS, ANSELMO DEASIS, M.D., :
SHAHID ALI, N.P., BETSY TELLER, P.A.,            :
JOHN/JANE DOES 1-3, Employees of                 :
Correctional Medical Care, Inc.,                 :
whose identities cannot presently be determined, :
                                                 :
               Defendants.                       :
__________________________________________


    CERTIFICATE OF MERIT REGARDING MEDICAL MALPRACTICE CLAIMS

        Elmer Robert Keach, III, attorney for the Plaintiff, declares that: I have reviewed the

facts of this case with a physician who is licensed to practice medicine in, at a minimum, the State

of New York who I reasonably believe is knowledgeable in the relevant issues involved in this

action, and I have concluded on the basis of such review and consultation that there is a reasonable

basis for the commencement of this action regarding medical malpractice against the State of New

York.

                                              Respectfully Submitted By:

                                              /s Elmer Robert Keach, III

Dated: February 26, 2016                      _______________________________
                                              Elmer Robert Keach, III, Esquire
                                              LAW OFFICES OF ELMER ROBERT
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